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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 LOUIE GOHMERT, et al.,

                Plaintiffs,
                                                        Civil Action No. 6:20-cv-00660-JDK
           v.

 THE HONORABLE MICHAEL R. PENCE,
 VICE PRESIDENT OF THE UNITED
 STATES, in his official capacity,

                Defendant.


                   UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF
                     OF THE U.S. HOUSE OF REPRESENTATIVES
                    AS AMICUS CURIAE IN SUPPORT OF DISMISSAL

       The U.S. House of Representatives respectfully moves for leave to file the accompanying

amicus curiae brief in support of dismissal.1 Plaintiffs take no position and Defendant consents

to the filing of this brief. No person or entity other than amicus and its counsel assisted in or

made a monetary contribution to the preparation or submission of this brief.

       The decision to allow the filing of an amicus curiae brief “lies solely within the

court’s discretion.” U.S. ex rel. Gudur v. Deloitte Consulting LLP, 512 F. Supp. 2d 920, 927

(S.D. Tex. 2007). Among other factors, a court may consider whether “the proffered information




       1
         The Bipartisan Legal Advisory Group (BLAG) of the U.S. House of Representatives,
which “speaks for, and articulates the institutional position of, the House in all litigation
matters,” has authorized the filing of an amicus brief in this matter. Rules of the U.S. House of
Representatives (116th Cong.), Rule II.8(b), https://perma.cc/M25F-496H. The BLAG
comprises the Honorable Nancy Pelosi, Speaker of the House, the Honorable Steny H. Hoyer,
Majority Leader, the Honorable James E. Clyburn, Majority Whip, the Honorable Kevin
McCarthy, Republican Leader, and the Honorable Steve Scalise, Republican Whip.
Representative McCarthy and Representative Scalise dissented.
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is ‘timely and useful’ or otherwise necessary to the administration of justice.” United States v.

Olis, No. CIV.A. H-07-3295, 2008 WL 620520, at *7 (S.D. Tex. Mar. 3, 2008).

       The House’s motion for leave to file an amicus brief should be granted. The House has a

significant institutional interest in this litigation, which seeks to upend Congress’s longstanding

role in counting the votes of the Electoral College in Presidential elections by invalidating the

federal statute—the Electoral Count Act—that has governed that process since its 1887

enactment.

       Pursuant to the Twelfth Amendment, following each Presidential election, each state’s

electors meet in their respective states, certify lists of all electors who voted for President and

Vice President, and transmit their list to the President of the Senate. After that process, “[t]he

President of the Senate shall, in the presence of the Senate and House of Representatives, open

all the certificates and the votes shall then be counted.” U.S. Const. amend. XII. The House has

a compelling interest in how the constitutionally mandated Joint Session of Congress proceeds

on January 6, 2021.

       As the proposed amicus brief explains, the Electoral Count Act codified Congress’s

practice, pursuant to the Twelfth Amendment, of counting and resolving disputes over electoral

votes. The House has important interests in preserving Congress’s power to adopt procedures

governing the counting of electoral votes, and in ensuring that the orderly procedures that have

governed the Joint Session since the Presidential election of 1888 continue to do so.

       The House also has a compelling interest in ensuring that the public’s confidence in the

processes for confirming the results of the 2020 Presidential election is not undermined by this

last-minute suit, which would authorize the Vice President to ignore the will of the Nation’s




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voters and choose the winner in an election in which he himself is a candidate, as will often be

the case.

       Finally, the House has expertise in the Twelfth Amendment’s procedures for counting

electoral votes, which it has implemented for every election since that amendment was ratified in

1804. The House submits that its brief will aid the Court in considering plaintiffs’ claims and

provides a perspective that otherwise would not be available to the Court. Numerous federal

courts throughout the country (including the U.S. Supreme Court) have in recent years granted

leave for amicus briefs by the House.

       Given the unique procedural posture of this filing, the page limits governing this filing

are unclear. We therefore respectfully request that the Court accept the brief at its current length

of 23 pages.

       For the foregoing reasons, the House’s motion for leave to file the proposed amicus brief

should be granted.

                                                Respectfully submitted,

                                                /s/ Douglas N. Letter
 Caitlin Halligan (NY Bar No. 3933447)          Douglas N. Letter (DC Bar No. 253492)
 Samuel Breidbart (NY Bar No. 5783352)          General Counsel
 Adam K. Hersh (NY Bar No. 5693064)             Todd B. Tatelman (VA Bar No. 66008)
 Max H. Siegel (NY Bar No. 5652235)             Megan Barbero (MA Bar No. 668854)
 SELENDY & GAY PLLC                             Josephine Morse (DC Bar No. 1531317)
 1290 Avenue of the Americas                    William E. Havemann (VA Bar No. 86961)
 New York, New York 10104                       Eric R. Columbus (DC Bar No. 487736)
                                                Lisa K. Helvin (DC Bar No. 988143)
 Michael R. Dreeben (DC Bar No. 370586)         Jonathan B. Schwartz (DC Bar No. 342758)
 GEORGETOWN UNIVERSITY LAW                      OFFICE OF GENERAL COUNSEL
 CENTER                                         U.S. HOUSE OF REPRESENTATIVES
 600 New Jersey Avenue NW                       219 Cannon House Office Building
 Washington, D.C. 20001                         Washington, DC 20515
                                                Telephone: (202) 225-9700
                                                Facsimile: (202) 226-1360
                                                douglas.letter@mail.house.gov



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December 31, 2020                    Counsel for Amicus U.S. House of Representatives *




       *
         Attorneys for the Office of General Counsel for the U.S. House of Representatives,
including any counsel specially retained by the Office of General Counsel, are “entitled, for the
purpose of performing the counsel’s functions, to enter an appearance in any proceeding before
any court of the United States or of any State or political subdivision thereof without compliance
with any requirements for admission to practice before such court.” 2 U.S.C. § 5571(a).
                                                4
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                             CERTIFICATE OF CONFERENCE

       I hereby certify that as counsel for amicus curiae, the United States House of

Representatives, I have complied with the meet and confer requirement in Local Rule CV-7(h) in

the following respects: On December 30 and 31, 2020, I have personally contacted attorneys at

the Department of Justice, who have informed me that they are representing Defendant Vice

President Michael R. Pence. I spoke by telephone and exchanged several emails regarding the

House’s Unopposed Motion for Leave to File Brief of the U.S. House of Representatives as

Amicus Curiae in Support of Dismissal with John Griffiths, the Director of the Department of

Justice Civil Division Federal Programs Branch. I have also exchanged emails on the same

subject with Jeff Clark, Acting Assistant Attorney General of the Civil Division, copying John

Coghlan, Deputy Assistant Attorney General for the Federal Programs Branch, and I spoke by

telephone with Mr. Coghlan. Mr. Clark expressly represented that Defendant consents to the

House’s motion for leave to file a brief in the case as amicus curiae.

       In addition, on December 31, 2020, I spoke by telephone with William Sessions, counsel

for plaintiffs, and we discussed the House’s Unopposed Motion for Leave to File Brief of the

U.S. House of Representatives as Amicus Curiae in Support of Dismissal. I have also exchanged

emails with Mr. Sessions and the other attorneys representing plaintiffs. Mr. Sessions

represented that Plaintiffs take no position on the House’s motion.


December 31, 2020                               /s/ Douglas N. Letter
                                                Douglas N. Letter
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                                CERTIFICATE OF SERVICE

       I certify that on December 31, 2020, I caused the foregoing document to be filed via the

United States District Court for the Eastern District of Texas CM/ECF system, which I

understand caused a copy to be served on all registered parties.

                                                     /s/ Douglas N. Letter
                                                     Douglas N. Letter
